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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT


 CARIBE BILLE, and QUINCY REEVES,
 individually and on behalf of all other similarly
 situated individuals,

                        Plaintiff,
                                                         Civil Action No.: 3:19-cv-00092 (JCH)
         v.

 COVERALL NORTH AMERICA, INC.,

                        Defendant.


                   EMERGENCY MOTION TO STAY PENDING APPEAL

       Defendant Coverall North America, Inc., (“CNA") hereby moves pursuant to Local Rule

7(a)(6) to stay pending appeal the Court’s March 30, 2023, Order (the “Unsealing Order”) to unseal

the Arbitration Award (Doc. No. 71) and the Order on the Motion for Preliminary Summary

Judgment (Doc. No. 74). CNA seeks emergency relief because it will suffer irreparable harm if

the Unsealing Order is implemented.

       In the Second Circuit and elsewhere, district courts routinely stay their orders on motions

to unseal pending appellate review. See, e.g., Stafford v. Int'l Bus. Machines Corp., No. 21-CV-

6164 (JPO), 2022 WL 1486494, at *3 (S.D.N.Y. May 10, 2022) (staying unsealing order “where

the parties explicitly agreed to maintain the confidentiality of the arbitration proceedings, the Final

Award is unopposed and has been fully satisfied, and IBM provided some reasons to maintain the

sealing”); Bernstein v. Bernstein Litowitz Berger & Grossmann LLP, No. 14-CV-6867, 2016 WL

1071107 (S.D.N.Y. Mar. 18, 2016), aff’d, 814 F.3d 132 (2d Cir. 2016); United States v. Caicedo

Velandia, No. 10-CR-00288-01, 2019 WL 6913524, at *4 (E.D.N.Y. Dec. 19. 2019) (staying order

on motion to unseal for 30 days pending appeal); United States v. Cicale, No. 05-CR-60-2, 2018

WL 388941, at *5 (E.D.N.Y. Jan. 11, 2018) (partly granting motion to unseal but staying execution
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of the “order for 30 days so that any party that wishes to appeal on the basis that further sealing is

appropriate may seek a lengthier stay from the Court of Appeals”); In re Sealed Search Warrants

Issued June 4 & 5, 2008, No. 08-M-208, 2008 WL 5667021, at *5 (N.D.N.Y. July 14, 2008)

(staying order on motion to unseal pending appeal); Chi. Trib. Co. v. Bridgestone/Firestone, Inc.,

263 F.3d 1304, 1308–09 (11th Cir. 2001) (considering appeal after district court stayed order

granting motion to unseal); In re Search Warrant for Second Floor Bedroom, 489 F. Supp. 207,

212 (D.R.I. 1980) (staying order on motion to unseal pending appeal “to preserve the status quo

and prevent irreparable harm”); Walmart Inc. v. Synchrony Bank, No. 18-CV-05216, 2020 WL

475829, at *5–7 (W.D. Ark. Jan. 29, 2020) (“[A]ny appellate review of [the] prior Order unsealing

the Complaint will be rendered toothless if the Court denies a stay pending appeal and immediately

unseals the sealed Complaint.”); Seidl v. Am. Century Cos., Inc., No. 10-4152-CV, 2014 WL

10937513, at *8 (W.D. Mo. July 2, 2014) (staying order on motion to unseal pending appeal to

prevent the information being revealed “before Defendants could protect their interests by seeking

appellate review”).

       “Four criteria are relevant in considering whether to issue a stay of an order of a district

court … pending appeal: the likelihood of success on the merits, irreparable injury if a stay is

denied, substantial injury to the party opposing a stay if one is issued, and the public

interest.” Mohammed v. Reno, 309 F.2d 95, 100 (2d. Cir. 2002) (citing Hilton v. Braunskill, 481

U.S. 770, 776 (1987)). As “the degree to which a factor must be present varies with the strength

of the other factors, . . . more of one factor excuses less of the other.” In re World Trade Ctr.

Disaster Site Litig., 503 F.3d 167, 170 (2d Cir. 2007) (internal quotes and brackets omitted).

       Here, each factor supports a stay. First, CNA has made a strong showing that the Court

lacks jurisdiction and, even if it had jurisdiction, that the Award and the Arbitrator’s Order on the


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Motion for Preliminary Summary Judgment should remain sealed. See, e.g., Doc. Nos. 79, 81, 84.

Even if the Court disagrees with CNA’s position, the issues of whether (a) there is an Article III

controversy regarding a paid arbitration award, 1 (b) the amount in controversy in this matter meets

the diversity threshold (including whether Billie is contractually entitled to attorneys’ fees and has

adequately established the non-monetary value of his Award), and (c) whether unsealing would

violate the strong federal policy in favor of arbitral confidentiality, all warrant appellate review.

           Second, CNA would suffer irreparable harm without a stay because a favorable decision

by the Second Circuit could not undo the Award’s publication.                           Absent a stay preventing

publication during the pendency of appellate review, CNA would be left without recourse and

would suffer irreparable harm. Vantage Health Plan, Inc. v. Willis-Knighton Med. Ctr., 913 F.3d

443, 449 (5th Cir. 2019) (“unsealing a document cannot be undone”).

           Third, Billie would not be injured in any way by a stay pending appeal. CNA does not

oppose Plaintiff’s request to confirm the arbitration award, which is Plaintiff’s sole claim for relief.

Whether the award is sealed or unsealed pending appeal will not alter the substance of the Award

itself or Billie’s enjoyment of its benefits.

           Fourth, as discussed in CNA's prior briefing, there is a strong federal policy in favor of

protecting arbitral confidentiality. See Doc. No. 79 at 8-10. The Supreme Court has recognized the

“liberal federal policy” of upholding arbitration agreements “according to their terms,” AT&T

Mobility LLC v. Concepcion, 563 U.S. 333, 344, 346 (2011), and the Second Circuit has

recognized that “confidentiality is a paradigmatic aspect of arbitration.” Guyden v. Aetna, Inc.,

544 F.3d 376, 385 (2d Cir. 2008). That federal policy would be a dead letter if parties to

confidential arbitration agreements could destroy confidentiality just by seeking to confirm or



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    As the Court noted, this issue is currently before the Second Circuit in the matter of Stafford v. IBM, 22-1240.
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vacate an award. In contrast, there will be no harm to the public interest if the Award remains

sealed during the pendency of an appeal.

       For these reasons, CNA respectfully requests that the Court stay its Order to unseal the

Arbitration Award (Doc. No. 71) and the Order on the Motion for Preliminary Summary Judgment

(Doc. No. 74) for sufficient time to file a notice of appeal as well as the pendency of that appeal.



                                                 By its attorneys,


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 Dated: March 30, 2023




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                                CERTIFICATE OF SERVICE

        I, Matthew J. Iverson, hereby certify that a true copy of the foregoing document filed
through the ECF system will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing, and paper copies will be sent by first-class mail to those
indicated as non-registered participants on March 30, 2023.

                                                              /s/ Matthew J. Iverson




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